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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
    LISA M. FOLAJTAR,                            :
                               Plaintiff,        :
                                                 :
                         v.                      :                  No. 5:18-cv-02717
                                                 :
    WILLIAM P. BARR, 1                           :
    Attorney General of the United States;       :
    THOMAS E. BRANDON,                           :
    Acting Director, Bureau of Alcohol,          :
    Tobacco, Firearms, and Explosives; and       :
    CHRISTOPHER A. WRAY,                         :
    Director of the Federal Bureau of            :
    Investigation                                :
                             Defendants.         :
                                                 :

                                            OPINION

       Defendants’ Motion to Dismiss for Failure to State a Claim, ECF No. 3—Granted

Joseph F. Leeson, Jr.                                                            February 22, 2019
United States District Judge

I.       INTRODUCTION

         Plaintiff was convicted of filing a false tax return over seven years ago. Now, as a

convicted felon, she is prohibited from owning firearms by federal law. A claim that the federal

law is unconstitutional under the Second Amendment as applied to her has been brought. 2



1
       Pursuant to Federal Rule of Civil Procedure 25(d), Attorney General Barr, as former
Acting General Whitaker’s successor, is automatically substituted as the defendant in this action.
See Fed. R. Civ. P. 25(d).
2
       “Unlike a facial challenge, an as-applied challenge ‘does not contend that a law is
unconstitutional as written but that its application to a particular person under particular
circumstances deprived that person of a constitutional right.” Binderup v. AG of United States,
836 F.3d 336, 345–46 (3d Cir. 2016) (quoting United States v. Mitchell, 652 F.3d 387, 405 (3d
Cir. 2011)).

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Defendants move to dismiss the complaint in its entirety under Federal Rule of Civil Procedure

12(b)(6). For the reasons set forth below, the motion to dismiss is granted.

II.    BACKGROUND 3

       In 2011 Lisa Folajtar pled guilty in the Eastern District of Pennsylvania to filing a false

tax return, a felony subject to possible fine up to $100,000, imprisonment for up to three years,

or both. The Honorable James Knoll Gardner sentenced Folajtar to three years’ probation,

including three months of home confinement with an electronic monitoring device, a $10,000

fine, and a mandatory $100 special assessment. 4 She completed her probation without any

violations.

       Folajtar wants to obtain firearms and ammunition to defend herself and her family within

their home and a Federal Firearms License for Archery Addictions, LTD, a Pennsylvania

corporation of which she is President. Federal law, however, bars her from owning, possessing,

using, or purchasing a firearm or ammunition. After learning of this bar, Folajtar has not

attempted to purchase a firearm or apply for a Federal Firearms License for Archery Addictions

for fear of violating federal law. As a result, she filed the complaint in this matter seeking

declaratory and injunctive relief. The Attorney General of the United States, Acting Director of



3
         The background information in this section is taken from the complaint and is set forth as
if true. See Phillips v. Cnty. of Allegheny, 515 F.3d 224, 228 (3d Cir. 2008).
4
         In the sentencing colloquy, Judge Gardner indicated that the “much more modest fine” of
$10,000 was appropriate and a greater fine was not necessary because of the considerable
financial impact of the $257,796.39 restitution payment. Tr. Sentenc. Proc. At 55:14–21, USA v.
Folajtar, No. 11-cr-00175, ECF No. 19. The transcript is a matter of public record and appears in
the record of Folajtar’s criminal case, which she referenced in her complaint. Buck v. Hampton
Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006) (“In evaluating a motion to dismiss, we may
consider documents that are attached to or submitted with the complaint and any matters
incorporated by reference or integral to the claim, items subject to judicial notice, matters of
public record, orders, and items appearing in the record of the case.” (internal citations and
quotations omitted)).

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the Bureau of Alcohol, Tobacco, Firearms, and Explosives, Director of the Federal Bureau of

Investigation, and the United States (collectively, the “Government”) move to dismiss the

complaint in its entirety with prejudice under Federal Rule of Civil Procedure 12(b)(6).

III.    LEGAL STANDARDS

        Federal Rule of Civil Procedure 12(b)(6) allows a court to dismiss a complaint for its

“failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). The Rules

generally demand “only a short and plain statement of the claim showing that the pleader is

entitled to relief, in order to give the defendant fair notice of what the claim is and the grounds

upon which it rests.” Connelly v. Lane Constr. Corp., 809 F.3d 780, 786 (3d Cir. 2016) (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal quotations omitted)).

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). In rendering a decision on a motion to

dismiss, this Court must “accept all factual allegations as true [and] construe the complaint in the

light most favorable to the plaintiff.” Phillips, 515 F.3d at 233 (quoting Pinker v. Roche

Holdings Ltd., 292 F.3d 361, 374 n.7 (3d Cir. 2002) (internal quotations omitted)). Only if “the

‘[f]actual allegations . . . raise a right to relief above the speculative level’” has the plaintiff

stated a plausible claim. Id. at 234 (quoting Twombly, 550 U.S. at 555). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

However, “the tenet that a court must accept as true all of the allegations contained in a

complaint is inapplicable to legal conclusions.” Id. (explaining that determining “whether a

complaint states a plausible claim for relief . . . [is] a context-specific task that requires the



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reviewing court to draw on its judicial experience and common sense”). The defendant bears the

burden of demonstrating that a plaintiff has failed to state a claim upon which relief can be

granted. Hedges v. United States, 404 F.3d 744, 750 (3d Cir. 2005) (citing Kehr Packages, Inc. v.

Fidelcor, Inc., 926 F.2d 1406, 1409 (3d Cir. 1991)).

IV.      ANALYSIS

         The Government moves to dismiss the complaint in its entirety with prejudice. The

Government argues that Folajtar seeks an unreasonable and unsupportable expansion of Second

Amendment case law because Congress defined her conviction as a felony—a serious criminal

offense. Folajtar argues her non-violent felony conviction is distinguished from the class of

individuals historically barred from gun ownership.

         After applying the relevant authority and the framework established in United States v.

Marzzarella and confirmed in Binderup v. Attorney General, and for the reasons discussed

below, the Court concludes that Folajtar does not state a plausible Second Amendment claim,

grants the Government’s motion, and dismisses this case.

      A. The Second Amendment and Challenges to the Constitutionality of Section 922(g)

         The Second Amendment states: “A well regulated Militia, being necessary to the security

of a free State, the right of the people to keep and bear Arms, shall not be infringed.” U.S. Const.

amend. II. These Second Amendment rights are not without limitations. In 2008, the United

States Supreme Court considered the Second Amendment’s protections and clarified that it

protects the right to possess and use firearms for traditionally lawful purposes, such as self-

defense within the home. District of Columbia v. Heller, 554 U.S. 570, 573 (2008). The Supreme

Court explained, however, that the right was not unlimited and that its opinion “should not be

taken to cast doubt on longstanding prohibitions on the possession of firearms by felons and the

mentally ill . . . .” Heller, 554 U.S. at 573. Two years later, in McDonald v. City of Chicago, the
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Supreme Court repeated this assurance that its holding in Heller “did not cast doubt on such

longstanding regulatory measures as ‘prohibitions on the possession of firearms by felons and

the mentally ill.’” 561 U.S. 742, 786 (2010).

       Some of those “longstanding prohibitions” are found in 18 U.S.C. § 922(g). Section

922(g) bars gun ownership by felons, fugitives, drug abusers, those adjudicated to be mentally

ill, illegal aliens, those dishonorably discharged from the military, those who have renounced

U.S. citizenship, and convicted domestic abusers or others subject to domestic violence

restraining orders. See 18 U.S.C. § 922(g)(1)–(8).

       Notwithstanding the Supreme Court’s assurances in Heller and McDonald, the

constitutionality of section 922(g) has been challenged repeatedly. See, e.g., Medina v. Whitaker,

No. 17-5248, 2019 U.S. App. LEXIS 1681, at *5 (D.C. Cir. Jan. 18, 2019) (listing the outcomes

of certain facial and as-applied challenges to section 922(g)(1) in circuits that have considered

the issue). “However, the Supreme Court ‘has not yet heard an as-applied challenge to a

presumptively lawful ban on firearms possession.’” King v. Sessions, No. 17-884, 2018 U.S.

Dist. LEXIS 100501, at *6–7 (E.D. Pa. June 15, 2018) (quoting Binderup v. Att’y Gen., 836 F.3d

336, 359 (3d Cir. 2016) (en banc), cert. denied sub nom. Sessions v. Binderup, 137 S. Ct. 2323

(2017)). Here, in this circuit, the United States Court of Appeals for the Third Circuit considered

the application of section 922(g)(1) as applied to two individuals convicted of state

misdemeanors in Binderup v. Attorney General.

       Sitting en banc, the Third Circuit Court of Appeals held that section 922(g)(1) violated

the Second Amendment as applied to those individuals based on different triggering state law




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offenses. 5 Binderup, 836 F.3d at 340–41. Its fractured decision consists of an opinion,

concurrence, and dissent.

       The Third Circuit Court of Appeals’ decision has led to other as-applied challenges to

section 922(g) in this circuit. Numerous district courts in this district and circuit have surveyed

relevant authority and addressed similar challenges. Many of these opinions considered other

state law offenses that triggered section 922(g)(1) and presented analyses similar to the analysis

in Binderup. 6 Others considered whether section 922(g)(4)’s restriction of a person’s ability to

possess a firearm when that person has been “committed to a mental institution” violated the

Second Amendment as applied. 7 Others considered whether federal felony convictions that

triggered section 922(g)(1)’s bar violated the Second Amendment as applied. 8

       This case falls into the latter. Here, Folajtar contends section 922(g)(1)’s prohibition

triggered by her federal felony conviction violates the Second Amendment as applied. The Court

analyzes her claim using the two-step burden shifting analysis previously articulated in

Marzzarella.




5
       Fifteen judges on the United States Court of Appeals for the Third Circuit took part in
deciding Binderup during the en banc appeal. Circuit Judges Ambro, Hardiman (Concurring),
and Fuentes (Dissenting) wrote opinions, but none collected a precedential majority.
6
       See Miller v. Sessions, No. 17-cv-2627, 2019 U.S. Dist. LEXIS 16864 (E.D. Pa. Feb. 4,
2019); United States v. Brooks, 341 F. Supp. 3d 566 (W.D. Pa. 2018); Gurten v. Sessions, 295 F.
Supp. 3d 511 (E.D. Pa. 2018); Holloway v. Sessions, No. 17-cv-81, 2018 U.S. Dist. LEXIS
168996 (M.D. Pa. Sep. 28, 2018); Clark v. Sessions, 336 F. Supp. 3d 535 (W.D. Pa. 2018);
Zedonis v. Lynch, 233 F. Supp. 3d 417 (M.D. Pa. 2017).
7
       See Keyes v. Sessions, 282 F. Supp. 3d 858 (M.D. Pa. 2017); Jefferies v. Sessions, 278 F.
Supp. 3d 831 (E.D. Pa. 2017); Simpson v. Sessions, No. 16-cv-1334, 2017 U.S. Dist. LEXIS
71109 (E.D. Pa. May 9, 2017); Franklin v. Sessions, 291 F. Supp. 3d 705 (W.D. Pa. 2017).
8
       See King, 2018 U.S. Dist. LEXIS 100501; Tripodi v. Sessions, 339 F. Supp. 3d 458 (E.D.
Pa. 2018).

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   B. The Marzzarella Framework for As-Applied Second Amendment Challenges

       The narrowest ground supporting the United States Court of Appeals for the Third

Circuit’s fractured vote in Binderup held that as-applied Second Amendment challenges were

cognizable and controlled by a two-step burden shifting analysis previously articulated in

Marzzarella. Binderup v. Att’y Gen., 836 F.3d at 339 (citing United States v. Marzzarella, 614

F.3d 85 (3d Cir. 2010)); see also United States v. Brooks, No. 17-cv-250, 2018 U.S. Dist. LEXIS

87591, at *7 (W.D. Pa. May 24, 2018) (providing an overview of the background, opinions, and

framework from Binderup). The Third Circuit Court of Appeals also recognized that its decision

in United States v. Barton, 633 F.3d 168 (3d Cir. 2011) guided its analytical framework from

Marzzarella. Binderup, 836 F.3d at 346. “Read together, Marzzarella and Barton lay out a

framework for deciding as-applied challenges to gun regulations.” Id.

       At step one of Marzzarella’s framework, Folajtar bears the burden of showing that a

presumptively lawful regulation burdens her Second Amendment rights. Doing so requires that

she clear two hurdles: “(1) identify the traditional justifications for excluding from Second

Amendment protections the class of which [she] appears to be a member, and then (2) present

facts about [herself] and [her] background that distinguish [her] circumstances from those of

persons in the historically barred class.” Id. at 346–47 (internal citations omitted). “Not only is

the burden on the challenger to rebut the presumptive lawfulness of the exclusion at

Marzzarella’s step one, but the challenger’s showing must also be strong. That’s no small task.”

Id. at 347. Summed up concisely, after Binderup, Folajtar must prove that she did not previously

commit a serious crime. Id. at 349 (“The takeaway: persons who have committed serious crimes

forfeit the right to possess firearms much the way they ‘forfeit other civil liberties, including




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fundamental constitutional rights.’” quoting Barton, 633 F.3d at 175); see also Tripodi v.

Sessions, 339 F. Supp. 3d 458, 464 (E.D. Pa. 2018).

       Only if Folajtar distinguishes her disqualifying federal conviction from “serious crimes”

at step one, does the burden under Marzzarella then shift to the Government at step two to show

the regulation as applied satisfies intermediate scrutiny. Binderup, 836 F.3d at 356. At this step,

the Third Circuit Court of Appeals instructed courts to determine “whether the Government has

made a strong enough case for disarming a person found after step one to be eligible to assert an

as-applied challenge. This turns in part on the likelihood that the [c]hallenger[ ] will commit

crimes in the future.” Id. at 354 n.7.

       Applying the Marzzarella framework, the Court finds that Folajtar’s claim fails at the

first step. Because Folajtar has not satisfied the factual grounds necessary to satisfy the first step,

it is not necessary for the Court to consider step two.

   C. Applying the Marzzarella Framework

       1. Step One

       At the first step of the Marzzarella framework, Folajtar must show that section 922(g)(1)

burdens her Second Amendment rights. To do so, she must (1) identify the traditional

justifications for excluding felons from Second Amendment protections, and then (2) present

facts about herself that distinguish her circumstances from those of persons in the historically

barred class. Binderup, 836 F.3d at 347.

       Before addressing those two considerations, the Court addresses the threshold question of

whether section 922(g)(1) burdens Folajtar’s Second Amendment rights. The parties do not

dispute Folajtar’s federal conviction for filing a false tax return carried a maximum possible

sentence of a fine up to $100,000, imprisonment for up to three years, or both, and as a result,

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section 922(g)(1) bars her from possessing a firearm. Under Heller and Marzzarella, section

922(g)(1), which is presumptively lawful, “permissibly prohibits firearms possession by an

individual such as [Folajtar] who has been convicted of a crime punishable by a term of

imprisonment exceeding one year.” King, 2018 U.S. Dist. LEXIS 100501, at *9 (citing 18 U.S.C.

§ 922(g)(1)).

           a. Traditional Justification

       The justification for denying felons the right to keep and bear arms dates back to the

Second Amendment’s drafting. “[M]ost scholars of the Second Amendment agree that the right

to bear arms was tied to the concept of a virtuous citizenry and that, accordingly, the government

could disarm ‘unvirtuous citizens.’” Binderup, 836 F.3d at 389 (quoting United States v. Yancey,

621 F.3d 681, 684 (7th Cir. 2010)). Those who committed violent crimes—in which actual or

attempted violence is an element—”undoubtedly qualify as ‘unvirtuous citizens’ who lack

Second Amendment rights.” Id. at 348. The category of “unvirtuous citizens” is broader than

those who commit violent crimes, however, “it covers any person who has committed a serious

criminal offense, violent or non-violent.” Id. (“To the extent Barton suggests that people who

commit serious crimes retain or regain their Second Amendment rights if they are not likely to

commit a violent crime, 633 F.3d at 174, it is overruled.”).

       Thus, the traditional justifications for excluding felons from Second Amendment

protections turn on whether an “unvirtuous citizen” committed a “serious crime,” not whether the

crime was violent or non-violent. In Binderup, the United States Court of Appeals for the Third

Circuit explained:

               The view that anyone who commits a serious crime loses the right to keep
       and bear arms dates back to our founding era. “Heller identified . . . as a ‘highly
       influential’ ‘precursor’ to the Second Amendment the Address and Reasons of
       Dissent of the Minority of the Convention of the State of Pennsylvania to Their

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        Constituents.” [United States v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010)] (quoting
        Heller, 554 U.S. at 604). That report “asserted that citizens have a personal right to
        bear arms ‘unless for crimes committed, or real danger of public injury.’” Id.
        (emphasis added) (quoting 2 Bernard Schwartz, The Bill of Rights: A Documentary
        History 662, 665 (1971)). “[C]rimes committed”—violent or not—were thus an
        independent ground for exclusion from the right to keep and bear arms. And there
        is reason to believe that felon disarmament has roots that are even more ancient.
        See [Don B. Kates, Jr., Handgun Prohibition and the Original Meaning of the
        Second Amendment, 82 Mich. L. Rev. 204, 266 (1983)] (“Felons simply did not fall
        within the benefits of the common law right to possess arms.”).

               The takeaway: persons who have committed serious crimes forfeit the right
        to possess firearms much the way they “forfeit other civil liberties, including
        fundamental constitutional rights.” Barton, 633 F.3d at 175.

Id. at 349.

              b. Application to Folajtar

        With that understanding of the traditional justification for denying felons Second

Amendment protections, the Court’s analysis shifts to consider whether Folajtar presents facts

about herself that distinguish her circumstances from those of persons in the historically barred

class (those who have committed serious crimes). Unlike Binderup, where the United States

Court of Appeals for the Third Circuit analyzed whether certain state law convictions were

serious enough to warrant statutory disqualification, the Court analyzes here whether a federal

felony is a serious crime. The burden on Folajtar at this point in the analysis is “extraordinarily

high.” See Binderup, 836 F.3d at 353 n.6 (“On the one hand, it is possible to read Heller to leave

open the possibility, however remote, of a successful as-applied challenge by someone convicted

of [a disqualifying offense considered a felony by the authority that created the crime]. At the

same time, even if that were so, the individual’s burden would be extraordinarily high—and

perhaps even insurmountable.”).

        “[T]here are no fixed criteria for determining whether crimes are serious enough to

destroy Second Amendment rights.” Id. at 351. Because “the category of serious crimes changes

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over time as legislative judgments regarding virtue evolve” the United States Court of Appeals

for the Third Circuit presumes “the judgment of the legislature is correct and treat[s] any crime

subject to § 922(g)(1) as disqualifying unless there is a strong reason to do otherwise.” Id. at 351.

In addition to that presumption, the Third Circuit Court of Appeals considered the following

other factors in Binderup to determine whether the state misdemeanors in question were serious:

“(1) the statutory maximum penalty of the crime; (2) whether the crime is a misdemeanor;

(3) whether use of force is an element of the crime;[ 9] (4) the sentence actually imposed upon the

challenger; and (5) whether there is consensus among the states about the seriousness of the

offense.[ 10]” Clark v. Sessions, 336 F. Supp. 3d 535, 542 (W.D. Pa. 2018) (citing Binderup, 836

F.3d at 351–53).

       Folajtar argues that she can distinguish herself from the class of individuals historically

barred. She compares her federal felony conviction with those state law misdemeanor

convictions in Binderup. In Binderup, one challenger was convicted under Pennsylvania law for

corrupting a minor, and the other challenger was convicted under Maryland law for carrying a

handgun without a license. Binderup, 836 F.3d at 340. Both of these crimes were nonviolent

misdemeanors. Id. at 375. They were excluded from the right to bear arms because the crimes

meet the generic definition of a felony and Congress’s definition of a felony for purposes of

section 922(g)(1). Folajtar argues that her crime of filing a false tax return “is hardly in the same

league” as to those crimes in Binderup. Pl.’s Br. Opp’n 9, ECF No. 5. She contends that the



9
        Although, as explained above, a non-violent crime can be serious, in Binderup, the
United States Court of Appeals for the Third Circuit explained that “the lack of a violence
element is a relevant consideration.” Binderup v. Att’y Gen., 836 F.3d at 352.
10
        Addressing this factor in Binderup was necessary because the crimes in question were
state law convictions. Because the crime in question here, filing a false tax return, is a federal
crime, this factor is inapplicable.

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nature of her crime, the total maximum sentence possibility and the sentence she received, and a

cross-jurisdictional consensus all weigh in favor of a showing that her felony was not a serious

offense. Id. at 9–11.

       This Court is not persuaded by Folajtar’s argument. Although she argues that the conduct

of her federal felony conviction is different than those state law misdemeanors, the Binderup

factors, in addition to the judgment of Congress in labeling this crime as a felony, weigh in favor

of treating her federal felony conviction as a serious crime The Court considered that: (1) the

statutory maximum penalty for filing a false tax return is a fine up to $100,000 and imprisonment

for up to three years, 26 U.S.C. § 7206(1); (2) Congress labeled this crime a felony, § 7206; (3)

the elements for filing a false tax return do not include the use or attempted use of force; (4) and,

the sentence Judge Gardner imposed included three years’ probation, of which three months

were on home confinement with an electronic monitoring device, and a $10,000 fine. The Court

did not consider the cross-jurisdictional consensus because it considers that factor relevant only

when the challenge involves a state-law misdemeanant. These factors differentiate Folajtar’s

federal felony conviction from those state law misdemeanors in Binderup.

       Because the factors here weigh in favor of treating Folajtar’s federal conviction as a

serious crime, Folajtar does not satisfy her high burden of distinguishing herself from other

felons historically excluded from the right to bear arms. See Binderup, 836 F.3d at 347 (“Not

only is the burden on the challenger to rebut the presumptive lawfulness of the exclusion at

Marzzarella’s step one, but the challenger’s showing must also be strong. That’s no small

task.”). Therefore, her claim will be dismissed. 11



11
       As Folajtar has not satisfied the factual grounds necessary to satisfy the first step under
the Marzzarella framework, it is not necessary for the Court to consider step two.

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V.     CONCLUSION

       For the reasons stated above, Defendants’ motion to dismiss is granted. A separate order

follows.


                                            BY THE COURT:




                                            /s/ Joseph F. Leeson, Jr.
                                            JOSEPH F. LEESON, JR.
                                            United States District Judge




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